    Case 3:10-cv-00004-K Document 1 Filed 01/04/10                 Page 1 of 11 PageID 1



     UNITED STATES DISTRICT COURT, NORTHERN DISTRICT OF TEXAS,
                        DALLAS DIVISION

ALEX JAIMES,                      §
                                  §
     Plaintiff,                   §
                                  §
     v.                           §                     No.
                                  §
FINANCIAL RECOVERY SERVICES, INC, §
                                  §
     Defendant.                   §

              PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

      ALEX JAIMES (Plaintiff), through his attorneys, KROHN & MOSS, LTD., alleges the

following against FINANCIAL RECOVERY SERVICES, INC (Defendant):

                                      INTRODUCTION

   1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C. 1692 et

      seq. (FDCPA).

   2. Defendant acted through its agents, employees, officers, members, directors, heirs,

      successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                               JURISDICTION AND VENUE

   3. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

      actions may be brought and heard before “any appropriate United States district court

      without regard to the amount in controversy.”

   4. Defendant conducts business in the state of Texas, and therefore, personal jurisdiction is

      established.

   5. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

   6. Declaratory relief is available pursuant to 28 U.S.C. 2201 and 2202.

                                  PLAINTIFF’S COMPLAINT                                            1
 Case 3:10-cv-00004-K Document 1 Filed 01/04/10                   Page 2 of 11 PageID 2



                                         PARTIES

7. Plaintiff is a natural person residing in Dallas, Dallas County, Texas.

8. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according to

   Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

9. Defendant is an alleged debt collector as that term is defined by 15 U.S.C. 1692a(6), and

   sought to collect a consumer debt from Plaintiff.

10. Defendant is a national debt collection company and conducts business in Edina, Hennepin

   County, Minnesota.

                               FACTUAL ALLEGATIONS

11. Defendant constantly and continuously places collection calls to Plaintiff seeking and

   demanding payment for an alleged debt (See Plaintiff’s call-log attached as Exhibit A).

12. Defendant calls Plaintiff from 1-866-438-2805 (See photos of Plaintiff’s caller ID attached

   as Exhibit B).

13. Defendant calls Plaintiff and hangs up without leaving voicemail messages.

14. Defendant calls Plaintiff and fails to disclose that the call is from Financial Recovery

   Services, Inc.

15. Defendant calls Plaintiff and fails to disclose that the call is from a debt collector.

                         COUNT I
DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

16. Defendant violated the FDCPA based on the following:

       a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

           consequence of which is to harass, oppress and/or abuse the Plaintiff because

           Defendant constantly and continuously places collection calls to Plaintiff and fails to

                                PLAINTIFF’S COMPLAINT                                            2
    Case 3:10-cv-00004-K Document 1 Filed 01/04/10                Page 3 of 11 PageID 3



              leave voicemail messages.

          b. Defendant violated §1692d(5) of the FDCPA when Defendant caused Plaintiff’s

              telephone to ring repeatedly and continuously with the intent to annoy, abuse, and

              harass Plaintiff..

          c. Defendant violated §1692d(6) of the FDCPA by placing telephone calls without

              meaningful disclosure of the caller’s identity because Defendant calls Plaintiff and

              hangs up without leaving voicemail messages.

          d. Defendant violated §1692e(10) of the FDCPA by using deceptive means in an

              attempt to collect a debt when Defendant called and hung up without leaving

              voicemail messages.

          e. Defendant violated §1692e(11) of the FDCPA by failing to disclose in subsequent

              communications that the communication was from a debt collector because

              Defendant calls and hangs up without leaving voicemail messages.

      WHEREFORE, Plaintiff, ALEX JAIMES, respectfully requests judgment be entered

against Defendant, FINANCIAL RECOVERY SERVICES, INC, for the following:

   17. Declaratory judgment that Defendant’s conduct violated the Fair Debt Collection Practices

      Act,

   18. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. 1692k,

   19. Actual damages,

   20. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. 1692k

   21. Any other relief that this Honorable Court deems appropriate.
                                   PLAINTIFF’S COMPLAINT                                         3
Case 3:10-cv-00004-K Document 1 Filed 01/04/10          Page 4 of 11 PageID 4




                             RESPECTFULLY SUBMITTED,


                             By:_    /s/ Peter Cozmyk______ ______
                                     [ ] Peter Cozmyk, Esq.
                                     Attorneys for Plaintiff
                                     Krohn & Moss, Ltd.
                                    3 Summit Park Drive, Suite 140
                                    Independence, Ohio, 44131

                                    Mailing Address:
                                    Krohn & Moss, Ltd



                        DEMAND FOR JURY TRIAL

  PLEASE TAKE NOTICE that Plaintiff, ALEX JAIMES, demands a jury trial in this case.




                          PLAINTIFF’S COMPLAINT                                    4
Case 3:10-cv-00004-K Document 1 Filed 01/04/10   Page 5 of 11 PageID 5
Case 3:10-cv-00004-K Document 1 Filed 01/04/10   Page 6 of 11 PageID 6




                            EXHIBIT A




                       PLAINTIFF’S COMPLAINT                             6
Case 3:10-cv-00004-K Document 1 Filed 01/04/10   Page 7 of 11 PageID 7
Case 3:10-cv-00004-K Document 1 Filed 01/04/10   Page 8 of 11 PageID 8
Case 3:10-cv-00004-K Document 1 Filed 01/04/10   Page 9 of 11 PageID 9
Case 3:10-cv-00004-K Document 1 Filed 01/04/10   Page 10 of 11 PageID 10




                             EXHIBIT B




                        PLAINTIFF’S COMPLAINT                              7
Case 3:10-cv-00004-K Document 1 Filed 01/04/10   Page 11 of 11 PageID 11
